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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION


 MOTHER DOE, INDIVIDUALLY AND                     )
 AS THE MOTHER AND NATURAL                        )
 GUARDIAN FOR JANE DOE, A                         )
 MINOR,                                           )
                                                  )
                                                             C.A. No.: 3:18-cv-02731-CMC
                         Plaintiff,               )
                                                  )
 vs.                                              )
                                                  )
                                                            PLAINTIFFS’ OPPOSITION TO
 RICHLAND   COUNTY    SCHOOL                      )
                                                          DEFENDANTS RICHLAND COUNTY
 DISTRICT  2,   SHERIFF    OF                     )
                                                          SHERIFF DEPARTMENT AND JOHN
 RICHLAND   COUNTY    IN   HIS                    )
                                                             EWING’S MOTION TO SEAL
 OFFICIAL   CAPACITY     D/B/A                    )
 RICHLAND COUNTY SHERIFF’S                        )
 DEPARTMENT, JOHN E. EWING, &                     )
 JAMEL BRADLEY,                                   )
                                                  )
                         Defendants.              )

         Come now the Plaintiffs, and hereby respond in opposition to Defendants Sheriff of

Richland County In His Official Capacity d/b/a Richland County Sheriff’s Department and John

E. Ewing (hereinafter referred to as “Defendants”) Motion to File Under Seal. (ECF Entry No.

131). Plaintiffs request that any confidential exhibits that could reveal the identity of the Plaintiffs,

the identify of other victims of Deputy Bradley, and/or sensitive medical records be submitted in

connection with these Defendants’ motion for summary judgement be filed under seal. The

Plaintiffs are not aware, however, of any precedent under Local Rule 5.03 for an entire motion,

memorandum in support, and every exhibit in support being filed under seal, particularly in a case

in which a public entity seeks dispositive relief on issues that would be explained in detail in an

Order which would be available to the public at large through CM/ECF and/or published in a




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federal reporter. As such, the Plaintiffs hereby object to Defendants’ motion to seal the entirety of

its memorandum in support of summary judgment and supporting exhibits.



                                                      Respectfully Submitted,

                                                      s/ James B. Moore III
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                                                      Attorneys for the Plaintiff

December 5, 2019
Georgetown, South Carolina




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